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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF IDAHO

JAMES G. ROSE, by and through Laree Lovan,

his natural mother and guardian ad litem, and on} CV97-018 3-3- WW

behalf of himself and all others similarly

situated, | «CIV. NO.
Plaintiff, | COMPLAINT FOR VIOLATION OF
FAIR LABOR STANDARDS ACT
v

ALBERTSON'S, INC., a Delaware corporation,

Defendant.

 

 

Plaintiff, for his class action complaint, based upon his personal knowledge as to his own

acts, and based upon the investigation of counsel as to all other matters, allege as follows:

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AAR,

im NATURE OF THIS ACTION

I. This case is a collective action arising under the Fair Labor Standards Act of 1938
(the "Act"), which has as its principal purposes the protection of all workers from oppressive
working hours and labor conditions that are detrimental to the health, the efficiency and general

well-being of workers, and the assurance that employees covered by the Act receive a "fair day's

pay for a fair day's work." Barrantine y. Arkansas Best Freight System, Inc., 450 U.S. 728, 739
(1981) [quoting 81 Cong. Rec. 4983 (1937) (message of President Roosevelt)].

2. Plaintiff and members of the proposed class are current and former non-union
employees of Defendant Albertson’s, Inc. (“Albertson’s”), in the states of Idaho, Arizona,
Arkansas, California, Florida, Kansas Louisiana, Montana, Nebraska, Nevada, New Mexico,
Oklahoma, Oregon, South Dakota, Texas, Utah, Washington, and Wyoming who have been
injured by Defendant’s plan.and practice of failing to pay contractual, minimum, and overtime
wages for time worked “off the clock;” i.e., time worked before or after an employee’s scheduled
work shift or on an employee’s “day off.”

3. In this action, plaintiff and members of the proposed class seek injunctive relief
requiring defendants to compensate for “off the clock” time worked and seek damages for past
compensation due and owing.

Hi. JURISDICTION AND VENUE

4. This Court has jurisdiction over the subject matter of this action under the Fair
Labor Standards Act of 1938, 29 U.S.C. § 217 and 28 U.S.C. § 1331.

5. Venue is appropriate in this district pursuant to 28 U.S.C. § 1391(b) since

commission of the acts comprising the violations complained of occurred in this district.

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i. THE PARTIES

6. Plaintiff James G. Rose is a resident of Idaho and was employed by Albertson’s as
a non-union worker in Idaho within the applicable period of limitations prior to the
commencement of this action. Mr. Rose was an employee as that term is used in the act.

7. Defendant Albertson’s is a corporation organized under the laws of the State of
Delaware with its headquarters in Boise, Idaho. Albertson’s does business in 19 Western,
Midwestern and Southern states, including, in addition to Idaho, Arizona, Arkansas, California,
Florida, Kansas Louisiana, Montana, Nebraska, Nevada, New Mexico, Oklahoma, Oregon, South
Dakota, Texas, Utah, Washington, and Wyoming. It operates 764 stores, including 646
combination food-drug stores, 78 supermarkets, and 40 warehouse stores in addition to 12
distribution centers. Albertson’s employs approximately 85,000 people, of whom only 31,000
are subject to collective bargaining agreements. Albertson’s is an employer as that term is used
in the Act.

TV. FACTUAL ALLEGATIONS

A. THE FAIR LABOR STANDARDS ACT

8. The Fair Labor Standards Act (the "Act") sets minimum wage and maximum hour
standards for all employers. 29 U.S.C. §§ 201, 206, 207, 213. The Act requires employers to
pay their employees (1) minimum wages for hours worked and (2) overtime at time and one-half
of the regular rate of pay for each hour worked in excess of 40 hours in any workweek. 29

U.S.C. § 207(a)(1).

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B. Defendant’s egal Conduct

9. Albertson’s has individual employment contracts with its employees which are
based on uniform, company-wide employment policies. The terms of those policies are included
in the individual employment contracts between Albertson’s and its employees. Pursuant to
those company-wide contracts and policies, including the company’s written “Time-Clock
Policy,” employees are to receive hourly wages for time worked. Employees must also receive
additional wages for overtime work, defined as all time worked in excess of 40 hours during any
workweek. In essence, employees must be paid for all work which Albertson’s allows to be
performed for its benefit, and at a premium for any overtime.

10. — Albertson’s actual cenploymentt practices, however, breach those basic
employment policies and contracts.. Pursuant to Defendant’s decision and plan to breach those
policies and contracts, employees are regularly forced to work “off the clock” by not recording
time they work before or after scheduled work shifts, during their lunch hours and scheduled
breaks, or during their “days off.” Albertson’s carries out its plan of forcing employees to work
“off the clock” hours on employees through, inter alia, work assignments which can not be
accomplished in the times allotted for those tasks and which require many additional hours to
finish. Time allotments for work assignments are made pursuant to Albertson’s company wide
scheduling system. Employees who fail to complete their work assignments within the
unrealistic times allotted are threatened with a variety of disincentives to record the actual time
taken to complete their tasks, including a reduction in scheduled work hours, reduction and
elimination of bonus income, demotion, and termination. Albertson’s also often requires

employees to work before or after they have clocked off of work without recording such

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additional periods. In addition, Albertson’s carries out its plan by concealing its actual
employment practices. Employees are forced to periodically certify that they have not worked
off the clock in order to receive their compensation and avoid the foregoing sanctions. As a
result of such practices, disincentives, and threats, Albertson’s fails to pay wages for all such “off
the clock” work and fails to account for such hours in computing overtime due to its employees.

11. Albertson's has consistently and routinely failed to pay wages to non-union
employees, including the individual plaintiff and all similarly situated employees, for activities
they are required to be compensated for, by individual contract and by law.

12... Albertson’s management knows that employees often perform “off the clock”
work for the benefit of the company without the benefit of lawful payment and have fostered the

company’s illegal course of conduct, by using the company’s written policies as a smoke-screen

 

for a variety of unlawful employment practices including, inter alia, creating and/or endorsing
erroneous time reports, giving more work to employees than they can finish in the hours assigned
for such work, discouraging employees from taking rest breaks, requiring employees to work
during portions of their lunch time and scheduled breaks, discouraging employees from
submitting claims for compensation for work performed “off the clock," and subjecting
employees who submit such claims to reprisal and threat of reprisal.

13. Albertson’s failed to keep correct employment records of the true hours worked
by non-union employees during each day and week of employment.

14. _ In failing to pay the wages due to its non-union employees for times actually

worked, as alleged above, Albertson's acted pursuant to a plan to deprive plaintiff and the

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proposed class of such wages and irreparably harmed its non-union employees, including the
individual plaintiff and other similarly situated non-union employees, harm for which no
adequate remedy at law exists.

v. COLLECTIVE ACTION ALLEGATIONS

15. Plaintiff seeks to bring this case as a collective and class action pursuant to 29
U.S.C. § 216(b) on behalf of themselves and all others similarly situated as members of a

proposed plaintiff class (“the class”) defined as follows:

All of Albertson’s non-union employees working for Albertson’s
in the states of Idaho, Arizona, Arkansas, California, Florida,
Kansas Louisiana, Montana, Nebraska, Nevada, New Mexico,
Oklahoma, Oregon, South Dakota, Texas, Utah, Washington, and
Wyoming at any time within the applicable period of limitations.

16. . Excluded from the class is Defendant, any entity in which it has a controlling
interest, and its legal representatives, heirs, and successors.

17. The members of the class, being geographically dispersed throughout 19 states in
the western, midwestern, and southern United States and numbering in the tens of thousands, are
so numerous that joinder of all of them is impracticable.

18. Plaintiff is similarly situated to the members of the proposed class. Plaintiff and
members of the class are and were employed pursuant to uniform contracts which were breached
by Defendant’s plan and employment practices.

COUNT I

19. Plaintiff realleges and incorporates by reference each of the preceding allegations

as if fully set forth herein.

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20. This Count is asserted on behalf of Plaintiff and members of the class who were
not compensated for all “off the clock” work time during the three year period preceding the
filing of this amended class action complaint.

21. Defendants, by their willful failure to compensate plaintiff and members of the

class for all “off the clock” work time, violated 29 U.S.C. §§ 201, 206, 207, and 213.

COUNT H

22. Plaintiff realleges and incorporates by reference each of the preceding paragraphs
as if fully set forth herein.

23. This Count is asserted on behalf of plaintiff and members of the class who have
not been compensated for all “off the clock” work time during the two-year period preceding the
- filing of this amended class action complaint.

24, Defendants’ failure to compensate for all “off the clock” work time violates the
Fair Labor Standards Act, 29 U.S.C. §§ 261, 206, 207, and 213.

Vi. JURY TRIAL DEMANDED

Plaintiff hereby demands a trial by jury.

WHEREFORE, plaintiff demands judgment as follows:

A. Determining that this action is a proper collective action pursuant to 29 U.S.C.

§ 216(b);
B. Awarding, under Count I, back pay, liquidated damages and other statutory

damages for willful violation of the Fair Labor Standards Act;

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Cc. Awarding under Count II back pay, liquidated damages and statutory damages for
violation of the Fair Labor Standards Act;

D. Enjoining defendants from continuing to not compensate for “off the clock” time;

E. Awarding to plaintiff the costs and disbursements of this action, including
attorneys’ fees and costs; and

F. Granting such other relief as this Court may deem as just anid proper.

DATED this 28" day of April, 1997.

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CONSENT TO BE A PARTY PLAINTIFF
I, , hereby consent to be a party plaintiff in an action brought

against Albertson’s, Inc. to recover amounts owing to me and other employees similarly situated

under the Fair Labor Standards Act.

 

 

 

DATED: 1997.
Signature
Printed Name
COMPLAINT FOR VIOLATION OF FAIR -9-

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